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                            United States District Court
                                      for the
                            Southern District of Florida

   Omaida C. Velazquez, Plaintiff,       )
                                         )
   v.                                    )
                                         ) Civil Action No. 23-20497-Civ-Scola
   University of Miami Leonard M.        )
   Miller School of Medicine, and the    )
   University of Miami Health System,    )
   Defendants.                           )

                                  Order of Recusal
         In accordance with 28 U.S.C. § 455, I must disqualify myself from this
  case: the Plaintiff was the Chair of the Department of Surgery and Surgeon-in-
  Chief at the University of Miami Miller School of Medicine, and my son worked
  with her directly as a General Surgery Resident. Consistent with this Court’s
  Internal Operating Procedure Number 2.16.00, this matter is referred to the
  Clerk of the Court for permanent reassignment to another Judge.
         Done and ordered in chambers, at Miami, Florida, on September 26,
  2023.

                                              ___________________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge


        In accordance with the Local Rules for the Southern District of Florida,
  providing for the random and equal allotment of cases, this cause is hereby
                                                             Roy K. Altman
  reassigned to the calendar of United States District Judge ___________________.

       All documents for filing in this case shall carry the following case number
                    23-cv-20497-Altman/Goodman
  and designation: _______________________.
                               26th
        By Order of Court this ____ day of September.


                                        Angela Noble
                                        Court Administrator/Clerk of Court
                                             /s/Valerie Kemp
                                        By: _____________________
                                              Deputy Clerk
